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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: April 29, 2020




                              UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF OHIO
                                     COLUMBUS DIVISION

 In Re:                                           :       Case No.        18-50708
          Brian Halenar                           :
          Katie Halenar                           :        Judge          C. Kathryn Preston
                                                  :
                                                  :       Chapter         13
                 Debtor(s).                       :
                                                  :


                     AMENDED ORDER TO EMPLOYER TO WITHHOLD AND
                       TRANSMIT DEDUCTIONS FROM DEBTOR’S PAY

          Debtor(s) having proposed a plan for the adjustment of debt under Chapter 13 of the Bankruptcy
 Reform Act of 1978 (Title 11, United States Code), this Court now comes to establish an appropriate
 amount of money to be withheld from debtor's pay in order to facilitate compliance with debtor's plan.
 The employer is not authorized to deduct any administrative expenses or service fees for this deduction.
 Based upon the foregoing, the debtor's plan, and pursuant to 11 U.S.C.§1325(b), it is


          ORDERED that the employer of the debtor deduct the amount indicated below from
 debtor's pay and send that sum along with debtor's name, case number and the last 4 digits of their
 social security number to:
                                      Interim Ch. 13 Trustee Faye English
                                                 P.O. Box 342
                                           Memphis, TN 38101-0342
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 It is further ORDERED that the Chapter 13 Trustee apply the funds to debtor's payment schedule. It is
 further ORDERED that pursuant to 11 U.S.C. §1325 deductions shall remain in effect without further
 notice from this Court, but that deductions may terminate only upon appropriate notice to debtor’s
 employer. This wage order replaces any prior wage order.

         Employee:         Brian J. Halenar
                           SSN: XXX-XX-4290

         Employer:         Encore Rehab

         Deduction:        $4,100.00 per month

                           Weekly:       $946.15
                           Biweekly:     $1,892.31
                           Semi-Monthly: $2,050.00

 IT IS SO ORDERED.

 Copies to: Default List

 Debtor's Employer:
 Encore Rehab
 Attn: Steve Wilkinson
 33533 W. 12 Mile Rd., Ste. 290
 Farmington, MI 48331

                                                     ###
